Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 1 of 10 PageID: 1




 Keith Harris, Esq. (KH 4604)
 Braff, Harris, Sukoneck& Maloof
 570 W Mount Pleasant Ave., Suite 200
 Livingston, N.J. 07039
 Ph: (973) 994 6677
 Jkliairis@bhsm-law.com

 John P. Fuller, Esquire, pro hac vice pending
 Fuller, Fuller & Associates, PA.
 12000 Biscayne Blvd., Suite 502
 North Miami, FL 33181
 (305)891-5199
 ipf@fulierfuller.com

 Attorneys for Plaintiffs

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    TRENTON DIVISION

 THE INDEPENDENCE PROJECT, INC., a New
 Jersey Non Profit Corporation, and RONALD
 MOORE, Individually,

                Plaintiffs,                                   Case No.
vs.

SYNDALE CORP., a New Jersey Corporation,

                Defendant.
                                                     /


                                          COMPLAINT

        Plaintiffs, THE INDEPENDENCE PROJECT, INC, a New Jersey Non Profit

Corporation, and RONALD MOO RE, Indivi dually, on their behalf and on behalf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"), hereby sue the Defendant, SYNDALE CORP., a New Jersey Corporation

(sometimes referred to as "Defendant"), for Injunctive Relief, damages, attorney's fees, litigation

expenses, and costs pursu ant to the Amer icans with Disabil ities Act, 42 U.S.C , § 12181 et seq.



                                                 1
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 2 of 10 PageID: 2




 ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

                               COUNTI
                      VIOLATION OF TITLE in OF THE
            AMERICANS WITH DISABILITIES ACT. 42 USC § 12181. et sea,

 1.    Plaintiff, Ronald Moore, is an in dividual residing at 1002 Central Ave., New Providence,

       NJ 07974, in the County of Union.

 2.    Plaintiff, THE INDEPENDENCE PROJE CT, INC., is a nonprofit corporation formed

       under jthe laws of the State of New jTersey. THE INDEPENDENCE PROJECT, INC ,

       maintains its principal office at 1002 Central Ave., New Prov idence, NJ 07974, in the

       County of "Union.

 3.    Defendant, SYNDALE CORP., holds title to the subject property alleged by the Plaintiffs

       to be operating in violation of Title III of the ADA.

4.     Defendant's property, 1798 Shopping Center is located at 1798 Hoop er Aven ue, Tom s

       River, New Jersey 08753, in the County of Ocean.

5.     Venue is properly located in the D istrict of New Jersey because venue lies in the judicial

      district of the property situs. The Defendant's property is locate d in and do es business

      within this judicial district.

6.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 134 3, this Court has been given original

      jurisdiction over actions whic h arise from the Defendant's violations of Title III of the

      Americans with Disabil ities Act, 42 U.S.C . § 12181 et seg. See also 28 U.S .C. § 220 1

      and § 2202.

7.    Plaintiff Ronald Moore is a New Jersey resident, is sui juris, and qualifies as an

      individual with disa bilities as defined by the AD A, being a qu adriplegic. Ronald Moore

      has visited the property which forms the basis of this lawsuit on numerous occasions and




                                                2
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 3 of 10 PageID: 3




        plans to return to the property in the near future to avail himself of the goods and services

        offered to the public at the pr operty. The Plaintiff has encountered arch itectural barriers

        at the subject property. The barriers to access at the property have endangered his safety.

        The Plaintiff is also a member of the Plaintiff organi zation, THE INDE PENDENCE

       PROJECT, INC., discussed below in paragraph 8.

 8.    Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

       corporation. Members of this organization include individuals with disabilities as defined
                                                                            [
                                                                            I


       by the ADA. The puipose of this organization is to rep resent the interest of its members

       by assuring places of p ublic accommodation are accessible to and usa ble by the disabled

       and that its members are not discriminated against because of their disabilities.

 9.    THE INDEPENDENCE PROJECT, INC. and its members have suffered and will

       continue to suffer di rect and in direct injury as a resul t of th e Defendant's d iscrimination

       until the Defendant has compelled to comply with the req uirements of the ADA. One or

       more of its members has suffer ed an injury that wou ld allow it to bring sui t in its own

       right. THE INDEPENDENCE PROJECT, INC. has also been discriminated against

       because of its ass ociation with its disabled members and their claims.

 10.   Defendant owns, leases, leases to, or operates a place of public accommodation as

       defined by the ADA and the regu lations implementing the A DA, 28 CFR 36.201(a) and

       36.104. Defendant is responsible for com plying with the ob ligations of the ADA . The

       place of public acc ommodation that the De fendant owns, operates, leases or lea ses to is

       known as 1798 Shopping Center, and is located at 1798 Hooper Avenue, Toms River, NJ

       08753.

 11.   THE INDEP ENDENCE PROJ ECT, INC. and Ronald Moor e have a realistic, cred ible,




                                                  3
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 4 of 10 PageID: 4




           existing and continuing threat of discrimination from the Defendant's non-compliance

           with the ADA with respect to this p roperty as described but not necessarily limited to the

           allegations in paragraph 13 of this complaint. Plaintiffs have reasonable grounds to

           believe that they wi ll continue to be s ubjected to discrimination in viola tion of t he ADA

           by the Defendant. Ronald Moore desires to visit 1798 Shopping Center not only to avail

           himself of the goods and services a vailable at the property but to assure himself that this

           property is in compliance with the ADA so that he and others similarly situated "will have

           full and equal enjoyment of the property without fear of discrimination.

 12.       The Defendant has discriminated against the indivi dual Plaintiff and members of the

           corporate Plaintiff organization by denying them access to, and full and equal enjoyment

           of, the goods, servic es, facilities , privileges, advantages and/or accommodations of the

           buildings, as prohibited by 42 U.S.C. § 12182 et seg.

13.       The Defendant has d iscriminated, and conti nues to di scriminate, against th e Plaintiffs in

          violation of the ADA by failing to, inter ali a, have access ible facilities by Janu ary 26,

          1992 (or January 26, 1993, if Def endant has 10 or fewer employees and gross receipts of

          $500,000 or less). A prelimin ary inspection of 1798 Shop ping Center has shown tha t

          violations exist. These violations that Ronald Moore personally encountered or observed

          include, but are not limited to;

          Parking aud Exterior Accessible Route

       a) Accessible parking spaces are not pr ovided at 1798 Sh opping Center, violating Sections
          402, 502 and 502.4 of the 2010 Accessi bility Standards. The lack of accessible spaces
          limits Mr. M oore's ability to park. During numerous visits these conditions prevented
          Mr. Moore from unloading from his van freely and safely. On certain occa sions he
          would park away from the center to insure he could access his van.

       b) Curb ramps provided to ac cess stores at 1798 Shopping Center are unsafe for wheelchair
          users and are not p rovided in some areas of the center. The curb ramps contain excessive


                                                    4
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 5 of 10 PageID: 5




       slopes, abrupt changes of level and lack level landings, violating Sections 402 and 406 of
       the 2010 Accessibility Standards. Mr. Moore dealt w ith a lack of man euvering space at
       the top of the curb ram p. These conditions are unsafe for Mr. Moore when he acc esses
       the curb ramps.

    c) The exterior accessible route at 1798 Sho pping Center fails to provide a safe acce ssible
       route to ram ps or curb ramps, violating Section 402 of th e 2010 Accessibility Standards.
       Mr. Moore was forced to travel in the traffic area of the center to get to the curb ramp.

   d) 1798 Shoppin g Center fails to provide a safe accessible route to the adjace nt bus stop ,
      street or sidewal k, violating Section 206.2.1 of the 201 0 Accessibility Standards. The
      lack of an accessible route prevents the option of public transportation for Mr. Moore.

       Access to Goods and Services                   ^

   e) Johnny G's and China Express fail to provide accessible dining tables for those in
      wheelchairs, viol ating Section 902 of the 2010 Ac cessibility Standards. Mr. Moore was
      unable to dine comfortably due to a lack of accessible tables.

   f) Payment counters throughout 1798 Shopping Center including in China Express and
      Salons are mounted beyond the reach of Mr. Moore , violating Sections 308 and 904 o f
      the 2010 Accessibility Standards.

   g) Entering tenants is impeded by abrupt changes of level and/or slopes at the base,
      violating Section 404 of the 201 0 Accessibility Standards. Mr. Moore's wheelchair can
      be damaged by abrupt changes of level.

       Restrooms

   h) Restrooms at 1798 Shopping Center including Johnny G's and Salons were reported to b e
      unsafe for use by the plaintiff. Inspection revealed Mr. Moo re was unable to use the
      restrooms safely due to a lack of accessibility. Including, inaccessible water closets
      which lack proper contro ls and wheelchair maneuvering space vio lating Sect ion 601 of
      the 2010 Accessibility Standards.

   i) Restrooms at Johnny G's and Salons provide dispensers beyond reach of wheelchair
      users and are inaccessible to the plaintiff, violating Section 308 of the 2010 Accessibility
      Standards.

   j) Lavatories at Johnny G's and Salons lack knee clearance and accessibility preventing the
      plaintiff from freely accessing the lavat ory, violating Section 606 the 20 10 Accessibility
      Standards.

   k) Johnny G's and Salons provides restrooms that contain improper centerlines for the water
      closets and flush controls moun ted on the wall side, viola ting Section 604 of the 2010




                                                5
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 6 of 10 PageID: 6




            Accessibility Standards. Mr. Moore was unable to acce ss flush controls while in the
            restrooms due to improper location.

        1) Using restrooms doors at Johnny G's and Salons in 1798 Shopping Center is impeded by
           round door knobs, improper signage and a lack of maneuvering clearance, violating
           Section 404 of the 20 10 Accessibility Standards. Round door kn obs impede Mr. Moore
           from easily accessing doors, levered door handles are required.

           Maintenance

        k) The accessible features of the facility are not maintained, creating barriers to access for
           the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

 'l4.      All of the foregoing violations are also violations of the 1991 Americans with Disabilities

           Act Accessibility Guidelines (ADAAG), and the 201 0 Standards for Ac cessible Design,

           as promulgated by the U.S. Department of Justice.

 15.       The discriminatory violatio ns described in paragr aph 13 are not an exclu sive list of the

           Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of

           public accommodation in orde r to photograph and measure all of the di scriminatory acts

           violating the ADA and all of the barriers to access. The individual Plaintiff, the members

           of the Plaintiff group* and all other individuals similarly situated, have been denied

           access to, and have been denie d the benefits of serv ices, programs and activities of the

           Defendant's buildings and its facilities, and have othe rwise been discri minated aga inst

           and damaged by the Defen dant because of the Defendant's AD A viola tions, as set fo rth

           above. The individual Plaintiff, the members of the Plaintiff group and all others

           similarly situated will con tinue to suffer such discrimination, injury and damage without

          the immediate relief pro vided by the ADA as reque sted herein. In order to remed y this

          discriminatory situation, the Plaint iff requires an inspec tion of the Defe ndant's place of

          public accommodation in orde r to determin e all of the are as of non -compliance with the

          Americans with Disabilities Act.


                                                     6
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 7 of 10 PageID: 7




 16.    Defendant has discrim inated against the individu al and coiporate Plaintiff by denyi ng

        them access to full and equal enjoyment of the goods, services, facilities, privileges,

        advantages and/or accommodations of its plac e of public accommodation or co mmercial

        facility in violation of 42 U.S.C. § 12181 et seq, and 28 CFR 36.302 et seq. Furthermore,

        the Defendant continues to discriminate against the Plaintiffs, and all those simila rly

        situated by fai ling to make re asonable modifications in policies, practices or procedures,

        when such modifi cations are necess ary to afford all offered goods, servi ces, facili ties,

       privileges, advantages or accommodations to in dividuals with disabilities; and by failing

       to take such efforts that may be necessary to ensure that no individual with a disability is

       excluded, denied services, segregated or otherwise treated differently than other

       individuals because of the absence of auxiliary aids and services.

 17.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

       Considering the balance of har dships between the Plaintif fs and Defendant, a remed y in

       equity is warranted. Furthermore, the public interest would not be disserved by a

       permanent injunction.

 18.   Plaintiffs have retained the undersigned counsel and is ent itled to r ecover attorney's fees*

       costs and litigat ion expens es from the De fendant purs uant to 42 U.S .C. § 12205 and 28

       CFR 36.505.

19.    Defendant is required to remove the existing architectural barriers to the physically

       disabled when suc h remov al is readil y achievable for its pl ace of pub lic accommodation

       that have existed prior to J anuary 26, 1992, 28 CFR 36.304(a); in th e alternative, if there

       has been an alteration to Defend ant's place of public acc ommodation since Janu ary 26,

       1992, then the Defen dant is requ ired to ensu re to the maximum extent feasible, that the




                                                 7
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 8 of 10 PageID: 8




        altered portions of the facility are read ily accessible to and useab le by indiv iduals with

        disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

        Defendant's facility is one which was designed and constr ucted for first occupancy

        subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant's

        facility must be readily accessible to and useable by indiv iduals with disabilities as

       defined by the ADA.

 20. | Notice to Defendant is not required as a result of the Defendant's failure to cure the

       violations by January 26, 992 (or January 26, 1993, i f Defendant has 10 or fewer

       employees and gros s receipts of $50 0,000 or less). All other conditi ons precedent have

       been met by Plaintiffs or waived by the Defendant.

21,    Pursuant to 42 U.S.C. § 12188, this Co urt is provided with authority to gran t Plaintiffs

       Injunctive Relief, including an order to require the Defendant to alter 1798 Shopp ing

       Center to make its facilities readi ly accessible and usea ble to the Pla intiffs and all othe r

       persons with disabilities as defined by the ADA; or by closing the facility until such time

       as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

       a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in viola tion o f Title III of th e Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq.

       b.     Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facility; or to mak e such facility readily accessible to

              and usable by individuals with disabilities to the extent required by th e ADA; and

              to require the Defendant to make reasonable modifications in policies, practices or




                                                 8
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 9 of 10 PageID: 9




                procedures, when such modifications are nece ssary to afford all offered goods ,

                services, facilities, privileges, advantages or accom modations to individuals with

                disabilities; and by fa iling to take such steps that may be ne cessary to ensure that

                no individual with a disability is excluded, denied services, segregated or

                otherwise treated differently than other individuals because of the absence of

                auxiliary aids and services.

        c.      An award of attorney's fees, costs and litigat ipn expenses pursuant to 42 U.tt.C.

                § 12205.

       d.       Such other relief as the Court deem s just and pro per, and/or is allowable und er

                Title III of the Americans wi th Disabilities Act. The Order shall f urther require

                the Defendant to maintain the required accessible features on an ongoing basis.

                                  COUNT II
             VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

 22.   Plaintiffs reallege all prior obliga tions as if fully set forth herein.   Plaintiffs repeat the

       allegations contained in all of the proceeding paragraphs.

 23.   Defendant's facility is a place of public acc ommodation as defined by N.J.S .A. 10:5-5,

       (New Jersey Law Against Discrimination).

 24.   New Jersey law provides that all persons shall have the opportunity to obtain all the

       accommodations, advantages, facilities and privileges of any place of public

       accommodation without discrimi nation on the basis of disability . This opp ortunity is

       recognized and declared to be a civil right. (See, N.J.S.A, 10:5-4.)

25.    As a result of the aforementioned discrim ination, Plaintiff Ronald Moore has sustai ned

       emotional distress, mental angui sh and sufferi ng and humiliat ion, and other injuries, in

       violation of the New Jersey Law Against Discrimination.


                                                  9
Case 3:18-cv-00406-MAS-DEA Document 1 Filed 01/11/18 Page 10 of 10 PageID: 10




         WHEREFORE, Ronald Moore demands judgment for damages, attorneys' fees,

  litigation expenses, including expert fees and costs pursuant to the New Jersey Law Aga inst

  Discrimination.

         Dated:     \\\ \^>                 Respsgtfu lKfSubmitti


                                            KEITH HARRIS, ESQ.
                                            Keith Harris, Esq, (KH4604)
                                            Braff, Harris, Sukoneck& Malool
                                            570 W Mount Pleasant Ave., Suite 200
                                            Livingston, N.J. 07039
                                            Ph: (973) 994-6677
                                            Fax: (973) 994-1296
                                            kharris@bh.sm-law.com

                                           John P. Fuller, Esquire, pro hac vice pending
                                           FULLER, FULLER & ASSOCIATES, P.A.
                                           12000 Biscayne Blvd., Suite 502
                                           North Miami, FL 331S1
                                           Ph: (305) 891-5199
                                           Fax: (305) 893-9505
                                           ipf@fullerfulleL-.com

                                           Counsel for Plaintiffs
                                           The Independence Project, Inc. and Ronald Moore




                                             10
